 Case 1:18-cv-00124-GJQ-RSK ECF No. 46 filed 06/18/18 PageID.308 Page 1 of 6



                               UNITED STATES DISTRICT COURT
                           IN THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


DANIEL WILLIAM RUDD,
                                                      Case No. 1:18-cv-124
              Plaintiff,
                                                      Honorable Gordon J. Quist
v.                                                    U.S. District Court Judge

CITY OF NORTON SHORES, GARY NELUND,
MARK MEYERS, DANIEL SHAW, MATTHEW
RHYNDRESS, MICHAEL WASILEWSKI, JON
GALE, CHRIS MCINTIRE, MELISSA MEYERS,
MICHELLE MCLEAN, JOEL BAAR, DOUGLAS
HUGHES, BOLHOUSE, BAAR, & HOFSTEE PC.,
WILLIAMS HUGHES PLLC.

              Defendants.

Daniel William Rudd, Plaintiff, Pro Se
201 S. Lake Ave.                             Michael S. Bogren (P34835)
Spring Lake, MI 49456                        PLUNKETT COONEY, P.C.
(231) 557-2532, daniel@stock20.com           Attorneys for Defendants: Gary Nelund,
                                             Daniel Shaw, Jon Gale, Matthew Rhyndress,
Sarah R Robbins (P81944)                     Michael Wassilewski, Mark Meyers,
Rock Wood (P41181)                           City of Norton Shores, Douglas Hughes &
Attorneys for Defendant Chris McIntire       WILLIAMS HUGHES, PLLC
MI. DEPT. OF ATTORNEY GENERAL                950 Trade Centre Way, Ste. 310
State Operations Division                    Kalamazoo, MI 49002, (269) 226-8822
P.O. Box 30736, Lansing, MI 48909            mbogren@plunkettcooney.com
(517) 373-6434, Woodr5@michigan.gov,
RobbinsS@michigan.gov                        Michelle M. McLean (P71393)
                                             BOLHOUSE, HOFSTEE & MCLEAN PC
Melissa L. Meyers, Defendant Pro Se          Attorneys for Defendants: Richard Bolhouse,
Tanis Schultz 85 Campau Ave NW               Michelle McLean, Joel Baar, & BOLHOUSE,
Suite R305                                   BAAR & HOFSTEE, PC
Grand Rapids, MI 49503                       Grandville State Bank Bldg.
(616) 608-7149                               3996 Chicago Dr. SW,
mmeyers@tanisshultz.com                      Grandville, MI 49418
                                             (616) 531-7711
                                             michellem@bolhouselaw.com
Case 1:18-cv-00124-GJQ-RSK ECF No. 46 filed 06/18/18 PageID.309 Page 2 of 6



 PLAINTIFF’S MOTION SEEKING LEAVE FOR FURTHER BRIEFING
 RE: MCINTIRE’S NEW ARGUMENTS ON IMMUNITY AND DISMISSAL

  1) For the reasons stated below in the supporting brief, Plaintiff seeks

     permission to file a responsive brief addressing newly raised arguments in

     Defendant   McIntire’s   “REPLY       TO   PLAINTIFF’S   OPPOSITION    TO

     DEFENDANT MCINTIRE’S MOTION TO DISMISS” (“Reply”) (ECF No. 44).

  2) Plaintiff sought concurrence on this matter without success.




                                       1
Case 1:18-cv-00124-GJQ-RSK ECF No. 46 filed 06/18/18 PageID.310 Page 3 of 6



                      PLAINTIFF’S SUPPORTING BRIEF

    Defendant McIntire filed a motion and brief seeking dismissal of all claims

against him on 4/13/18 (ECF Nos. 23-24). These filings raised an extensive number

of issues and devoted several pages to arguments for “Federal qualified immunity”

(PageID.205-208). After receiving several extensions, Plaintiff filed his response on

5/31/18 (ECF No. 42). Plaintiff asserts that at least two new arguments have been

raised in McIntire’s REPLY.



           I.     Absolute Immunity Under the Eleventh Amendment

    Defendant McIntire’s REPLY (ECF No.44), raises immunity arguments which

were not addressed in the previous motion and brief. McIntire now claims that he is

entitled to absolute immunity under the eleventh amendment because he was a state

trooper acting in his official capacity. (PageID.297-300).
      As all of Plaintiff’s claims against Defendant Lieutenant McIntire are
      based on alleged actions by Defendant Lieutenant McIntire in his capacity
      as an officer with the Michigan State Police, this court should determine
      that this suit against Defendant Lieutenant McIntire is an official-capacity
      action only, that Defendant Lieutenant McIntire is entitled to immunity
      [Fn.2: “A state trooper is absolutely immune from §1983 liability in his
      official capacity under the Eleventh Amendment to the United States
      Constitution. Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989)"],
      and that the claims against Defendant Lieutenant McIntire should be
      dismissed. (Def. REPLY, PageID.299-300)
    McIntire does not explain why he did not raise eleventh amendment absolute

immunity as a defense in his initial motion for dismissal under Rule 12(b). If the

Court determines that Rule 12(g)(2) does not bar McIntire from asserting this defense

for the first time in his reply brief, Plaintiff seeks the opportunity to address the

merits of these arguments. Plaintiff will argue that:




                                           2
    Case 1:18-cv-00124-GJQ-RSK ECF No. 46 filed 06/18/18 PageID.311 Page 4 of 6




      (1) Lawson1 is factually inapplicable to the present case because the actions of

         state official were properly documented and in full adherence to standard

         operating procedure;

      (2) Lawson (1990) relies on a misreading of Will v. Mich. Dep’t of State Police

         (1989) which was subsequently rejected by the U.S. Supreme Court in Hafer

         v. Melo, 502 U.S. 21 (1991);2 and

      (3) McIntire has obviously lifted portions of Plaintiff’s pleadings to suggest that

         Plaintiff is actually bringing suit against McIntire in his official capacity (also

         demonstrating a failure to understand the ruling in Hafer). For example,

         McIntire’s reply brief asserts:
             Importantly, Plaintiff’s own framing of the allegations against the
             defendants show that the claims are official-capacity claims. On page
             17 of ECF No. 42, Plaintiff states “[t]he civil rights violations alleged
             by Plaintiff stemmed from the customs, practices and behaviors of the
             named defendants,” (emphasis in the original) which is classic official
             capacity language.
This passage speaks generally and should not be construed to override Plaintiff’s

explicit statements about the nature of claims against McIntire. “Classic Language”

is not determinative, but as this statement pertains to McIntire it identifies

“behaviors”. In either case, Hafer clarified that the more pressing question is who will

be liable for the alleged misconduct.3


1 Def. Brief (PageID.297-298) relies on: Lawson v. Bouck, 747 F. Supp. 376 (W.D. Mich. 1990).
2 Plaintiff appreciates that Hafer v. Melo is identified as Contra (Fn.1, PageId.299), but it would
have been better to recognize that Hafer precludes the entire eleventh amendment immunity
argument entirely—saving everyone some time.
3The Supreme Court rejected the same argument McIntire now asserts stating: “Of course, the

claims considered in Will were official-capacity claims; the phrase ‘acting in their official
capacities’ is best understood as a reference to the capacity in which the state officer is sued, not
the capacity in which the officer inflicts the alleged injury. To the extent that Will allows the
construction Hafer suggests, however, we now eliminate that ambiguity” Hafer at 27. Notably,
citations to Lawson fall off sharply after Hafer eliminated this ambiguity in 1992.

                                                  3
Case 1:18-cv-00124-GJQ-RSK ECF No. 46 filed 06/18/18 PageID.312 Page 5 of 6



          II.     Additional Challenges to the Sufficiency of Pleadings

    Many of McIntire’s original challenges are re-stated in this recent filing (and

probably restated in the same or similar conclusory manner in many other motions

for 12(b) dismissals of Section 1983 claims). McIntire has once again been extremely

selective in choosing which portions of Plaintiff’s filings should be discussed. These

portions are frequently taken out of context (as noted in the previous example).

McIntire has identified statements from Plaintiff’s response which can rightly be

identified as conclusory. In these statements, Plaintiff is summarizing the general

nature of the complaint which arises from the facts Plaintiff has plead. However,

McIntire wrongly suggests that these narrowly selected statements are broadly

representative:
       …the majority of what the Plaintiff asserts as “facts” are not factual
      assertions, but rather Plaintiff’s legal conclusions. For example, on page 1
      of Plaintiff’s brief (ECF No. 42), he asserts that “[i]n his representations to
      Plaintiff, McIntire was essentially impersonating a Michigan State Police
      officer instead of acting as one.” (Emphasis in original). …The above
      assertion does not state what Defendant Lieutenant McIntire did but
      rather alleges the ultimate legal conclusion, which belongs to the trier of
      law and not the Plaintiff. Essentially, the Plaintiff is framing as a “fact”
      that Defendant Lieutenant McIntire was committing fraudulent behavior.
(Def. reply BRIEF, PageId.300). Plaintiff would argue that his complaint and, and

especially his brief do offer the underlying factual allegations describing what

McIntire did. If question remains, Plaintiff seeks the opportunity to address the

challenges that McIntire has now raised.




                                           4
Case 1:18-cv-00124-GJQ-RSK ECF No. 46 filed 06/18/18 PageID.313 Page 6 of 6




       Finally, McIntire’s reply brief asserts a challenge to the sufficiency of Plaintiff’s

denial of access claims (PageID.302-303):
         Lastly, Plaintiff’s alleged deprivation of access to courts appears to a
         disguised [sic] belief that Plaintiff has the right to win.” (¶1, PageID.302)

         …

         Plaintiff appears to be asserting that any mounted legal defense to his
         allegations are conspiracies to violate his rights, which is not correct.”
         (¶1, PageID.303)
    This is certainly not what Plaintiff is asserting. McIntire has misstated the

ultimate outcome of state court proceedings and misconstrued Plaintiff’s claims

regarding obstructive tactics by the Defendants. Denial of Access is already a complex

claim to litigate. Needless confusion will not be helpful. Plaintiff seeks the

opportunity to eliminate any misunderstandings of this nature.

                       III.    Conclusion and Relief Requested

    Local Rule 7.2(c) provides that following a party's reply brief on a dispositive

motion, the "Court may permit or require further briefing." W.D. Mich. LCivR 7.2(c).

Plaintiff has attempted to provide a short summary of the issues and arguments to be

covered. If this Court determines that further briefing may be beneficial for a

determination on this matter, Plaintiff requests permission to file accordingly.

    WHEREFORE, Plaintiff requests an order granting leave for further briefing on

any or all of the issues identified herein. Plaintiff requests fourteen days to complete

and file a brief of 10 or less pages.

Respectfully submitted on 6/18/18

                                           /s/ Daniel William Rudd
                                          Daniel William Rudd, Plaintiff (Pro Se)
                                          201 S Lake Ave. Spring Lake, MI 49456
                                          (231) 557-2532 daniel@stock20.com


                                             5
